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                            No. 18-496

                               IN THE



                         BARRY MICHAELS,
                                        Petitioner,

                                 v.

                    JEFFERSON B. SESSIONS III,
             ATTORNEY GENERAL OF THE UNITED STATES,
           AND THOMAS E. BRANDON, AS DEPUTY DIRECTOR,
HEAD OF THE BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES,
                                      Respondents.


             On Petition for a Writ of Certiorari to the
        United States Court of Appeals for the Ninth Circuit

                   MOTION TO SUBSTITUTE


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                           MOTION TO SUBSTITUTE

      Petitioner respectfully moves this Court to substitute Rod J. Rosenstein in his

official capacity as Acting Attorney General for Jefferson B. Sessions III, who re-

signed on November 7, 2018. The President that day purported to designate Matthew

G. Whitaker as Acting Attorney General. But Movant submits that, in fact, Mr.

Rosenstein — as the Senate-confirmed Deputy Attorney General — automatically

succeeded to the role of Acting Attorney General under 28 U.S.C. § 508(a). Further,

the appointment of Mr. Whitaker violated Article II of the Constitution.

      This Court’s Rules provide that successors to government officials are auto-

matically substituted. See Sup. Ct. R. 35. But that practice is premised on the ability

of this Court to identify the correct successor, so that any judgment or Order of the

Court is directed to the correct individual. Controversies are rare. This is the ex-

traordinary case in which the identity of the successor is both contested and has im-

portant implications for the administration of justice nationally. This Motion seeks

to resolve the dispute.

      From the outset, Movant freely acknowledges that no characteristic of this case

distinguishes it from any other in which Mr. Sessions was a named party. But the

fact that the same issue has already arisen in multiple cases and has the potential to

arise in thousands more is a feature, not a bug, of this promptly filed motion. There

is a significant national interest in avoiding the prospect that every district and im-

migration judge in the nation could, in relatively short order, be presented with the

controversy over which person to substitute as Acting Attorney General.



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      Often, that will not be a ministerial question, as the Attorney General has nu-

merous personal responsibilities under federal law. Every day, Mr. Whitaker would

presently be expected to take a number of significant official acts, including appoint-

ing immigration judges, authorizing national security warrants, determining not to

enforce federal statutes on the ground that they are unconstitutional, approving or

withdrawing regulations, and overseeing the investigation of Special Counsel Robert

Mueller. See, e.g., 28 U.S.C. §§ 510-19; 50 U.S.C. § 1804; 8 C.F.R. §§ 1003.9-1003.10;

28 C.F.R. pt. 600.

      If this Court declines to resolve this question immediately and instead deter-

mines several months in the future that Mr. Whitaker’s appointment was always in-

valid, then “unwinding” all of those personal orders would be a fraught and disruptive

exercise that could embroil the federal courts in innumerable collateral disputes. Cf.

5 U.S.C. § 3348(d)(2) (actions of officials not qualified under Vacancies Act “may not

be ratified” later). Deciding this Motion promptly avoids those significant difficulties.

Even if this Court now determines that the President in fact validly appointed Mr.

Whitaker as Acting Attorney General, that ruling would equally benefit the admin-

istration of justice by removing the cloud of uncertainty over the appointment and by

resolving the burgeoning number of challenges to it that are otherwise likely to be

filed in the lower courts.

      For similar reasons, the exigencies of the circumstances are such that Movant

does not believe it would be more appropriate to allow this question to be resolved in

the first instance in some other matter in the lower courts, subject to subsequent



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review in the courts of appeals and then this Court. So far as we are aware, the most

advanced challenge to Mr. Whitaker’s appointment will be argued in federal district

court on December 19, 2019. See Scheduling Order, Maryland v. United States, No.

18-cv-2849 (D. Md. Nov. 13, 2018). The judge in that case has not indicated when the

parties can expect a ruling. Any eventual appeal would presumably not reach this

Court for several additional months.

       Importantly, it is not likely that the percolation of this question in the lower

courts would substantially benefit this Court’s eventual ruling. The Motion presents

a pure question of law; no relevant record is being assembled in the lower courts. The

legal position of the Government and its supporting rationale have already been ar-

ticulated in multiple opinions of the Office of Legal Counsel. See Appendix A (collect-

ing those opinions). The contrary position is well developed and is set forth by this

Motion. Leaving the question to be decided in the first instance by district courts and

the courts of appeals would as a practical matter amount to nothing more than dif-

ferent judges “taking sides” while waiting for the issue to reach this Court.

       Given the significance of the question and the complexity of the legal dispute,

this Court may deem it appropriate to set the Motion for plenary briefing and argu-

ment. Movant is prepared to file a substantive brief on any schedule the Court deems

appropriate.1



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        Movant consulted the Solicitor General on the question of an appropriate schedule, but that
Office was not then prepared to offer its views beyond a presumption that it would respond within ten
days. To the extent that the Court would benefit from a proposal, Movant suggests the following. The
Court should direct that the Motion promptly be resubmitted pursuant to Supreme Court Rule 33.1.
See Sup. Ct. R. 21(c)(2) (Court may direct Motions be filed under Rule 33.1). Further briefs should be


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                                         BACKGROUND

         The Constitution’s Appointments Clause provides in relevant part that the

President “shall nominate, and by and with the Advice and Consent of the Senate,

shall appoint . . . Officers of the United States, whose Appointments are not herein

otherwise provided for, and which shall be established by law: but the Congress may

by Law vest the Appointment of such inferior Officers, as they think proper, in the

President . . . .” U.S. Const. art. II, § 2, cl. 2. The Appointments Clause thus divides

officials into so-called “principal” and “inferior” officers; the Senate categorically must

confirm the former but it may authorize the President to appoint the latter directly.

See Edmond v. United States, 520 U.S. 651, 660-63 (1997); United States v. Germaine,

99 U.S. 508, 509-11 (1879). The Attorney General, as the head of the Department of

Justice and the Nation’s chief law enforcement officer, is indisputably a principal of-

ficer.

         For as long as there has been a Department of Justice, Congress has mandated

that only a Senate-confirmed official may serve as Acting Attorney General. In 1870,

the statute that created the Department established the Solicitor General as the At-

torney General’s second in command. It specified that if the Attorney General was

unavailable, the Solicitor General would serve in an acting capacity. Act of July 20,

1870, ch. 150, § 2, 16 Stat. 162, 162. In 1953, Congress created the position of Deputy




submitted subject to the page limits applicable to Briefs on the Merits under Rule 33.1, on the following
schedule: November 26, Opposition of the United States and Amicus Briefs in Support of Either Party;
December 3, Reply in Support of the Motion.



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Attorney General, specifying it as the successor to the Attorney General, to be fol-

lowed by the Solicitor General and the Assistant Attorneys General in order of suc-

cession as prescribed by the Attorney General. See Reorganization Plan No. 4 of 1953,

Pub. L. No. 83-288, 67 Stat. 626, 636. In 1977, Congress created the position of As-

sociate Attorney General and inserted it below the Deputy Attorney General in the

order of succession. Pub. L. No. 95-139, 91 Stat. 1171, 1171 (1977).

      Those provisions were mandatory. The President could not designate anyone

else. Also, none limited how long the acting official could serve. For ease of reference,

we refer to these provisions as the “Attorney General Succession Act.” The operative

version is codified at 28 U.S.C. § 508. See Appendix B (reproducing the current and

predecessor provisions).

      Congress has passed similar statutes governing the acting succession of other

vital government officers, including the Secretary of Defense, the Chairman of the

Joint Chiefs of Staff, the Director of National Intelligence, and the Director of the

Central Intelligence Agency (CIA). See 10 U.S.C. § 132(b) (Deputy Secretary of De-

fense); 10 U.S.C. § 154(d) (Vice Chairman of Joint Chiefs of Staff); 50 U.S.C. § 3026(a)

(Principal Deputy Director of National Intelligence); 50 U.S.C. § 3037(b)(2) (Deputy

Director of CIA). With respect to each, in the absence of the Senate-confirmed officer,

a Senate-confirmed deputy must serve in the acting role. As with the Attorney Gen-

eral Succession Act, the President cannot unilaterally appoint an alternative official,

and there is no time limit on how long the deputy may serve in an acting role. See

Appendix C (collecting these examples).



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      Those statutes contrast with others that govern particular offices. For several,

Congress has designated a default successor but granted the President the power to

pick someone else. E.g., 38 U.S.C. § 304 (President may override succession by Dep-

uty Secretary of Veterans Affairs); 40 U.S.C. § 302 (Deputy Administrator of General

Services); 42 U.S.C. § 902(b)(4) (Deputy Commissioner of Social Security); see Appen-

dix D (collecting these examples).

      There are approximately 1,200 Senate-confirmed offices. See Maeve P. Carey,

Cong. Research Serv., R41872, Presidential Appointments, the Senate’s Confirmation

Process, and Changes Made in the 112th Congress 7 & n.21 (Oct. 9, 2012). Not sur-

prisingly, Congress has not adopted individual statutes to govern succession for each

one. Instead, in 1868, Congress enacted a general vacancies provision. Act of July

23, 1868, ch. 227, 15 Stat. 168. That statute provided that the officer’s “first assis-

tant” would serve in the acting role, subject to the President’s power to appoint an-

other Senate-confirmed official instead. The original 1868 version limited the interim

appointment to 10 days. § 3, 15 Stat. at 168. In 1966, Congress extended it to 30

days. Pub. L. No. 89-554, 80 Stat. 378, 426 (1966). In 1988, it made the period 120

days. Pub. L. No. 100-398, 102 Stat. 988 (1988). In 1998, Congress both extended it

generally to 210 days and also for the first time granted the President the power to

name an established, senior staff member of the agency as the acting officer. 5 U.S.C.

§§ 3345(a)(2)-(3), 3346; see Federal Vacancies Reform Act of 1998, Pub. L. No. 105-

277, div. C, tit. I, § 151, 112 Stat. 2681-611. For ease of reference, we refer to these




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provisions as the “Vacancies Act.” The operative version is codified at 5 U.S.C.

§§ 3345-49d. See Appendix E (reproducing the current and predecessor provisions).

       From the beginning, Congress specified that the Attorney General Succession

Act’s mandatory order of succession overrides the general provisions of the Vacancies

Act. In 1873, in the course of codifying federal law at Congress’s direction, the Sec-

retary of State explicitly excluded the Office of the Attorney General from the Vacan-

cies Act. Rev. Stat. § 179 (1st ed. 1875); see also Act of June 20, 1874, ch. 333, 18 Stat.

113 (codification is regarded as authoritative); U.S. Nat’l Bank of Or. v. Indep. Ins.

Agents of Am., Inc., 508 U.S. 439, 449 n.4 (1993). In 1953, when Congress reorganized

federal personnel law, it specified for avoidance of doubt that the Deputy Attorney

General was the “first assistant” for purposes of the Vacancies Act, but provided that

the President’s appointment authority under that Act did not apply to the Office of

the Attorney General. See 67 Stat. at 636.

       The now-operative Vacancies Act (the 1998 version) explicitly exempted even

more offices, not just the Attorney General. The Vacancies Act now states that it is

generally the exclusive mechanism for determining the acting successor for a Senate-

confirmed position “unless . . . a statutory provision expressly . . . designates an officer

or employee to perform the functions and duties of a specified office temporarily in an

acting capacity.” 5 U.S.C. § 3347(a)(1). Congress considered but did not adopt the

Senate version of that statute supported by the Department of Justice, which would

have done the opposite and made the Vacancies Act uniformly applicable to all offices,




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unless a specific statute expressly precluded its application. S. 2176, 105th Cong. § 2

(1998).

                        SUMMARY OF THE ARGUMENT

      The Attorney General Succession Act unambiguously deems Deputy Attorney

General Rod Rosenstein the Acting Attorney General. There is no merit to the Gov-

ernment’s contrary argument that Congress empowered the President to choose

whether to permit automatic succession under that statute or instead to choose a

successor under the Vacancies Act. Indeed, given the absence of any exigency, the

Appointments Clause only permits a Senate-confirmed official to serve as Acting At-

torney General.

                                    ARGUMENT

I.    The Governing Statutes Are Unambiguous.

      1. In the Attorney General Succession Act, Congress specified the succession

of the Attorney General. “In the case of a vacancy in the office of the Attorney General

. . . the Deputy Attorney General may exercise all the duties of that office . . . .” 28

U.S.C. § 508(a). If the Deputy Attorney General is unavailable, the Associate Attor-

ney General and then (in the order specified by the Attorney General) other Senate-

confirmed Department of Justice officials automatically succeed to the role of Acting

Attorney General. Id. § 508(b). The Attorney General Succession Act—in contrast to

the Vacancies Act, with which it has co-existed for 150 years—grants the President

no authority to override that congressional directive to appoint some other hand-




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picked successor who has not been subject to the oversight of Senate confirmation

within that agency.

        The Vacancies Act generally provides “the exclusive means for temporarily au-

thorizing an acting official to perform the functions and duties of” any Senate-con-

firmed officer in every executive agency (other than the Government Accountability

Office). 5 U.S.C. § 3347(a). But that is not so when another “statutory provision

expressly . . . designates an officer or employee to perform the functions and duties of

a specified office temporarily in an acting capacity.” Id. § 3347(a)(1)(B). To designate

is “[t]o choose (someone or something) for a particular job or purpose.” Black’s Law

Dictionary 541 (10th ed. 2014). The Attorney General Succession Act does just that—

it chooses the Deputy Attorney General to serve as the acting official.

        The Vacancies Act is thus unambiguous. The statutory text accordingly pro-

vides that the Vacancies Act is the only statute under which the President may select

an acting official unless another statute chooses (designates) the successor. That lan-

guage does not leave room for the President nonetheless to still make an appointment

in the face of that designation. Nonetheless, the Government’s position inevitably is

that the Attorney General Succession Act does not “designate” – i.e., choose – the

Acting Attorney General. Instead, the President can “designate” some other officer

under the Vacancies Act. That reading cannot be reconciled with the straightforward

text.

        2. The reasons that Congress made the Attorney General Succession Act ex-

clusive are obvious and illustrated by recent events. The Attorney General exercises



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vast authority over, for example, criminal and national security matters. 28 U.S.C.

§§ 511-19. The role calls for the highest levels of integrity and personal judgment,

prerequisites safeguarded by the Constitution’s command that principal officers be

subject to the oversight and check provided by Senate confirmation, see NLRB v. SW

Gen., Inc., 137 S. Ct. 929, 935 (2017), as a means “to curb Executive abuses of the

appointment power” and ‘“to promote a judicious choice of [persons] for filling the

offices of the union,’” Edmond v. United States, 520 U.S. 651, 659 (1997) (quoting The

Federalist No. 76, at 386-87) (Alexander Hamilton) (M. Beloff ed., 1987) (alteration

in original).

       Indeed, the Attorney General plays a particularly vital role with respect to the

separation of powers. Except in cases of recusal, the Attorney General has the power

to control an investigation of the President himself. 28 C.F.R. pt. 600. Absent the

Attorney General Succession Act, the President could fire the Attorney General (or

demand his resignation), then appoint a hand-picked junior Senate-confirmed officer

from an entirely different agency, or a carefully selected senior employee who he was

confident would terminate or otherwise severely limit the investigation. Indeed, the

President could appoint and then remove a series of hand-picked individuals as Act-

ing Attorney General until one finally acceded to the President’s demands, with the

Senate left powerless to intercede. The Attorney General Succession Act makes that

impossible; without it, the possibility seems far from theoretical.

       The Attorney General Succession Act also ensures that the President cannot

allow an appointment to lapse, thereby leaving the vital position of Attorney General



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empty. The President would have to remove at least a half-dozen Senate-confirmed

senior Department of Justice officials before the line of automatic succession was ex-

hausted. By contrast, under the general provisions of the Vacancies Act, the Presi-

dent may force a vacancy by either terminating any interim appointee or allowing the

time limit on the appointment to expire. 5 U.S.C. § 3348(b).

       3. Congress added the “exclusivity” provision to the 1998 Vacancies Act to ad-

dress a distinct problem not presented by this case, not to make that statute an avail-

able means for making a presidential appointment in every case. The Department of

Justice had taken the position that the President could fill vacancies through a mech-

anism other than either the Vacancies Act (which imposed time limitations) or a spe-

cific succession statute—viz., by “delegating” the officer’s responsibilities to some

other staff member. This was a significant controversy at the precise time that Con-

gress was considering the 1998 statute. See Morton Rosenberg, Congressional Re-

search Service, Validity of Designation of Bill Lann Lee As Acting Assistant Attorney

General For Civil Rights 34 (Jan. 14, 1998) (describing the controversy and proposing

“Amending the Vacancies Act” to resolve it). Congress therefore provided that the

Vacancies Act’s exclusivity provision was not applicable if a specific statute “desig-

nated” the acting official, but that a statute merely granting authority “to delegate

duties statutorily vested in that agency head” would not qualify.            5 U.S.C.

§ 3347(a)(1)(B), (b).




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II.       The Government’s Contrary Argument Is Unpersuasive.

          The Government argues that the Vacancies Act is a “non-exclusive” means to

determine the Acting Attorney General. On its view, the fact that the Vacancies Act’s

exclusivity provision is inoperative does not negate the statute’s applicability. In-

stead, it renders the Vacancies Act’s procedures optional, at the President’s discre-

tion. That argument lacks merit.

          The text of the Vacancies Act provides no real support for the Government’s

reading. The Government accepts that the statute’s exclusivity provision does not

apply here, because the Attorney General Succession Act “designates” the Deputy

Attorney General as the relevant acting official. The Government then can point to

nothing in the statutory text specifying that the Vacancies Act’s general provisions

would apply specifically in the case of the resignation of the Attorney General.

          The Government seemingly reads the Vacancies Act as if it affirmatively stated

that the statute provides a “non-exclusive means of selecting” acting officials. But it

does not say that. Rather, the Vacancies Act has an exclusivity provision that is in-

applicable here, in its entirety.2



      2
          There is one potential factual scenario—not presented by this case—in which the Vacancies
Act and the Attorney General Succession Act could work together. The Attorney General Succession
Act specifies that certain Senate-confirmed Department of Justice officials succeed to the role of Acting
Attorney General. But the Attorney General Succession Act does not address who assumes that acting
role if the list it provides is exhausted because no Senate-confirmed official is in any of the enumerated
roles. 28 U.S.C. § 508(b). This scenario will sometimes occur during transitions between presidential
administrations, when all of the incumbent officials resign or are removed. In that limited circum-
stance, the Vacancies Act could provide a mechanism to select the Acting Attorney General, because
such a selection would not conflict with the requirements of the Attorney General Succession Act.
    The President has issued an Executive Order doing just that. Executive Order 13,762 identifies
the order of succession for the Attorney General. It first expressly follows the mandatory order of
succession under Section 508. It then provides that if the officials specified by that statute are


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        It moreover would take very clear statutory language for the Vacancies Act to

function as the Government contends. Every ordinary canon of construction supports

the conclusion that the mandatory provisions of the Attorney General Succession Act

are instead controlling.

        First, when two statutes conflict, the more specific presumptively controls.

See, e.g., RadLAX Gateway Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 645-46

(2012). The conflict here is plain and unavoidable. The succession of the Attorney

General cannot simultaneously be governed by both the Attorney General Succession

Act and the Vacancies Act. The Attorney General Succession Act categorically deems

the Deputy Attorney General the Acting Attorney General, to be succeeded by other

Senate-confirmed Department of Justice officials, none of which are subject to any

time limit. In stark contrast, if the Vacancies Act were to apply, it would deem the

Deputy Attorney General the Acting Attorney General only by default and subject to

a presidential override at his discretion, subject to a strict time limit, and with no

possibility of automatic succession by other Department of Justice officials.

        This case is the perfect illustration. Under the Attorney General Succession

Act, Rod Rosenstein is the Acting Attorney General. But under the Vacancies Act,

Matthew Whitaker is the Acting Attorney General. Only one of those can be true.

Those officials cannot both serve and not serve at the same time – Schrödinger’s Act-

ing Attorneys General.




unavailable, “the President retains discretion, to the extent permitted by law, to depart from this order
in designating an acting Attorney General.” Exec. Order No. 13,762 (Jan. 13, 2017).



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      The Attorney General Succession Act is the more specific provision. It is di-

rected to one particular office, whereas the Vacancies Act applies to more than 1,000

positions. The Attorney General Succession Act also identifies precisely the Senate-

confirmed officials who will serve in an acting role. By contrast, the Vacancies Act

permits the President to appoint any established agency employee who is at least a

GS-15, as well as Senate-confirmed officers from other agencies whose functions have

nothing at all to do with those of the Attorney General, and who were not confirmed

with the slightest thought by the Senate that the President might pluck them from

that position to serve as the Nation’s chief law enforcement official.

      The Government’s contrary reading unavoidably rests on an understanding

that, if two statutes conflict, the President can choose the one he prefers. But that is

not how America works. The Constitution tasks the President with faithfully admin-

istering the laws that Congress passes, not picking the ones he likes best. U.S. Const.

art. II, § 3. Distinct, reticulated statutory schemes carefully superintended by Con-

gress over 150 years that play a direct role in the Constitution’s checks and balances

are not like neckties and breakfast cereals. You do not just pick whichever suits in

the moment.

      Second, this Court will not stretch statutory language when it is obvious that

Congress knew how to accomplish the same result much more directly. See, e.g., Mis-

sissippi ex rel. Hood v. AU Optronics Corp., 571 U.S. 161, 169 (2014); Whitfield v.

United States, 543 U.S. 209, 216 (2005). Here, closely related provisions include three




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mechanisms for giving the President the option to make an appointment that over-

rides the successor specified by Congress:

          (i) Multiple statutes identify a default acting official, subject to the Presi-

   dent’s authority to name someone else. See Appendix D, infra.

          (ii) Other statutes expressly state that the succession of a particular office

   is governed by the general provisions of the Vacancies Act. See, e.g., 7 U.S.C.

   §§ 2210-11 (Secretary of Agriculture).

          (iii) Section 3345(a) of the Vacancies Act itself identifies a default successor

   (the “first assistant”) in paragraph 1, then provides “notwithstanding paragraph

   (1)” that the President may name any Senate-confirmed official or established sen-

   ior agency staff member. See 5 U.S.C. § 3345(a).

      If Congress had intended to permit the President to choose someone other than

the Deputy Attorney General as the Acting Attorney General, it would logically have

chosen one of those mechanisms. It would have amended the Attorney General Suc-

cession Act to authorize a Presidential appointment. Or it would have specified in

Section 3345(a) that the President’s appointment authority applies “notwithstanding

28 U.S.C. § 508” or (more broadly) “notwithstanding any provision that designates an

officer or employee to perform the functions and duties of a specified office temporar-

ily in an acting capacity.” But it did none of those.

      Third, there is a strong presumption against concluding that statutes have

been effectively repealed by implication. See, e.g., Branch v. Smith, 538 U.S. 254, 273

(2003). But deeming the Vacancies Act controlling here would render the Attorney



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General Succession Act and the congressional judgments it embodies a nullity as a

practical matter. The very point of the Attorney General Succession Act is to ensure

that the Nation’s highest law enforcement official is a Senate-confirmed officer within

the chain of command of the Department of Justice—one whom the Senate has al-

ready considered with the possibility s/he might be called on to perform the Attorney

General’s functions—and to forbid the President from appointing a hand-picked em-

ployee to that role. Put another way, the Attorney General Succession Act represents

a congressional judgment to reject the President’s discretion to make ad hoc appoint-

ments in favor of a specified line of succession that the Senate has vetted in advance.

      Again, this case is a perfect illustration. It is impossible to know whether a

majority of Senators would, after scrutiny, have voted to confirm Mr. Whitaker if the

Senate had been asked for its advice and given the opportunity to consent. It is

enough to recognize the objective fact that confirmation could not be assumed – in-

cluding because his credentials for the position are, historically speaking, distinctive

for the role. Any President may, in any given moment, have particular reasons for

wanting a specific individual to exercise the powers of the Attorney General. The At-

torney General Succession Act exists to stop that from happening.

      To be sure, the Government’s reading does leave a small role for the Attorney

General Succession Act’s designation of the Deputy Attorney General. If the Presi-

dent elects to allow that statute to operate, the acting official is not subject to the

time limitations of the Vacancies Act and will automatically be succeeded by other

Senate-confirmed officials. But the question remains: Why would Congress give the



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President that option? What was Congress trying to accomplish? There is no apparent

answer.

      Just as important, it would invite great uncertainty because it could be impos-

sible to tell what constraints apply to the Acting Attorney General because it would

not be known which statutory scheme was being used. Take the following straight-

forward hypothetical: the Attorney General resigns and is succeeded by the Deputy

Attorney General. On the Government’s reading, is that appointment subject to time

limitations? If the Deputy Attorney General then resigns, does the Associate Attor-

ney General become Acting Attorney General or is the office vacant? The answers

depend on whether the Deputy Attorney General automatically assumed the acting

role under Section 508(a) or instead Section 3345(a)(1), which equally makes the Dep-

uty Attorney General (as the “first assistant”) the first successor. But because the

President has not “selected” anyone in that scenario of automatic succession, there is

no way to know. Congress could not have intended to create such an indeterminate

situation.

      Fourth, “Congress . . . does not alter the fundamental details of a regulatory

scheme in vague terms or ancillary provisions—it does not, one might say, hide ele-

phants in mouseholes.” Whitman v. Am. Trucking Ass’n, 531 U.S. 457, 468 (2001).

Here, the elephant is huge, for the implications of the Government’s position are

breathtaking. As discussed, the very purpose of the Attorney General Succession Act

was to ensure that the weighty responsibilities of that office would be performed by

specific Senate-confirmed officials. Congress is not likely to have attributed that



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capacity to all of the 6,916 employees of the Department of Justice who serve in the

GS-15 pay grade, almost all of whom could be named Acting Attorney General under

the Government’s view of the statutory scheme. See FedScope Federal Human Re-

sources Data, Employment Cubes (Mar. 2018), https://www.fedscope.opm.gov/employ-

ment.asp (Department of Justice March 2018 pay scale).

      Moreover, the Government’s position is not limited to the office of the Attorney

General. As noted, indistinguishable statutory schemes have long governed the suc-

cession of other positions vital to the national interest—offices that Congress could

not have imagined would be helmed by staff members or officers of completely unre-

lated agencies. On the Government’s view, when the Senate approves each of the

more than 1,200 officials subject to confirmation by that body, it has in mind that the

President might under Section 3345 install that person as the Attorney General, Sec-

retary of Defense, Director of National Intelligence, or Director of the CIA. See supra

at 11. It would be the singular public servant who could effectively satisfy all of those

roles. But it seems unlikely that the Senate has such lofty expectations in confirming,

for example, the Architect of the Capitol, the Librarian of Congress, the Assistant

Secretary-Employee Benefits Security Administration, or the President of Ginnie

Mae (the Government National Mortgage Association) – much less all of them. See 2

U.S.C. §§ 136-1, 1801; 12 U.S.C. § 1723(a); 29 U.S.C. § 553.

      Sixth, statutes are not read to produce a result that would have been compelled

by draft legislation that Congress considered but did not enact. See, e.g., Tanner v.

United States, 483 U.S. 107, 125 (1987).        Here, the Senate version of the 1998



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Vacancies Act included language—apparently inserted at the urging of the Depart-

ment of Justice—that would have allowed the President to make the appointment

now at issue. The Senate bill provided that the Vacancies Act was controlling unless

“another statutory provision expressly provides that the [sic] such provision super-

sedes sections 3345 and 3346.” S. 2176, 105th Cong. § 2. It further generally provided

that “[w]ith respect to the office of the Attorney General of the United States, the

provisions of section 508 of title 28 shall be applicable” (emphasis added), not that

they were controlling. Id.

       The Government argues (see Memorandum for Emmet T. Flood, Counsel to the

President, Re: Designating an Acting Attorney General, __ Op. O.L.C. ___ (Nov. 14,

2018), https://assets.documentcloud.org/documents/5113265/OLC-Acting-AG-memo.pdf)

that its position is supported by a sentence in the Senate Report on the 1998 Vacan-

cies Act stating, “even with respect to the specific provisions in which temporary of-

ficers may serve under the specific statutes this bill retains, the Vacancies Act would

continue to provide an alternative procedure for temporarily occupying the office.”

S. Rep. No. 105-250, at 17 (1998). That argument is disappointingly incomplete. It

omits the vital point that the Senate bill included language to that effect, but it was

not adopted.3




   3
        The Government’s position is not supported by the fact that Congress replaced the predecessor
Vacancy Act’s specific exemption for the Attorney General with the 1998 Act’s broader exemption that
includes not only the Attorney General Succession Act but also other statutes that “designate” specific
successors. The change merely eliminates any negative inference that the Vacancies Act preserved
only the specific succession regime for the Attorney General and overrode similar provisions in other
statutes that govern succession for offices such as the Secretary of Defense.



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      Seventh, this Court will read statutory enactments in a manner consistent with

long-settled practice, absent some clear indication that Congress intended to change

the law. See, e.g., Rehberg v. Paulk, 566 U.S. 356, 361-62 (2012). From the time that

Congress created the Department of Justice in 1870 until it enacted the provision of

the 1998 Vacancies Act in question, the Acting Attorney General uniformly was the

Senate-confirmed official specified by the Attorney General Succession Act. See Act-

ing Attorneys General, 8 Op. O.L.C. 39 (Mar. 30, 1984). The significant expansion in

the Attorney General’s weighty responsibilities over that time only reinforces that

Congress would naturally be deeply concerned with the personal qualifications and

integrity of the person holding that office. Congress also would have had in mind

President Nixon’s order – issued to a succession of Senate-confirmed officials specified

by Section 508 – to fire special prosecutor Archibald Cox. Congress would not have

responded to the Saturday Night Massacre by granting the President even broader

authority to install his own silent assassin.

      Similarly, so far as Movant has determined, the Executive Branch uniformly

adhered to the designations under statutes that govern other similar provisions (such

as the Secretary of Defense, Chairman of the Joint Chiefs of Staff, and Director of the

CIA) unless no Senate-confirmed deputy existed at the time. The striking fact about

the Government’s interpretation of the Vacancies Act is that there is no indication

that Congress intended to abandon that settled practice and instead create the pos-

sibility of extraordinary and anomalous appointments of different acting officials.




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       Eighth, “it is a cardinal principle” of statutory interpretation that when an in-

terpretation of a statute raises “a serious doubt” as to its constitutionality, “this Court

will first ascertain whether a construction of the statute is fairly possible by which

the question may be avoided,” and adopt that interpretation instead. Zadvydas v.

Davis, 533 U.S. 678, 689 (2001) (quoting Crowell v. Benson, 285 U.S. 22, 62 (1932)).

In the next Section, we detail why—absent some exigency—the Appointments Clause

permits only a Senate-confirmed Department of Justice official to serve as Acting At-

torney General. It is enough to say here that the Attorney General is indisputably a

“principal officer,” such that the Government’s interpretation should be avoided be-

cause it would raise a “serious” constitutional question. I.N.S. v. St. Cyr, 533 U.S.

289, 300 (2001). This Court will in such a circumstance adopt a construction that is,

like Movant’s here, “plausible” or “fairly possible.” Milavetz, Gallop & Milavetz, P.A.

v. United States, 559 U.S. 229, 239 (2010) (quotation marks omitted).

III.   The Appointments Clause Requires That The Acting Attorney
       General Be Senate-Confirmed, Absent Exigencies Not Present Here.

       The Appointments Clause in Article II of the Constitution distinguishes be-

tween two classes of executive branch “officers”—principal officers and inferior offic-

ers—and specifies how each may be appointed. See United States v. Germaine, 99

U.S. 508, 509, 511 (1879). There is no dispute that the Attorney General is a principal

officer, which means that except during a Senate recess, he or she must be nominated

by the President and appointed “with the Advice and Consent of the Senate.” U.S.

Const. art. II, § 2, cl. 2.




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      When the Office of Attorney General is vacant due to death, resignation, or

similar exigency, others may temporarily assume the position. But to be clear, as the

Office of Legal Counsel itself acknowledges, anyone who assumes the role for any-

thing but a “transient” or “incidental” period is him- or herself an “Officer of the

United States” for purposes of the Appointments Clause. See Officers of the United

States Within the Meaning of the Appointments Clause, 31 Op. O.L.C. 73, 77 (2007);

see also NLRB v. SW Gen., Inc., 137 S. Ct. 929, 946 (2017) (Thomas, J., concurring)

(designation as “acting” officer, when there is “nothing ‘special or temporary’ about

the appointment,” is “trivial distinction” that does not avoid “structural protections

of the Appointments Clause” (quoting United States v. Eaton, 169 U.S. 331, 343

(1898)). Thus, the range of officials who may “contin[ue]” as an acting officer for more

than a transient period, i.e. one that is not “special or temporary,” is limited to indi-

viduals who meet the baseline Appointments Clause requirements. See Lucia v. SEC,

138 S. Ct. 2044, 2051 (2018); Eaton, 169 U.S. at 343. Those requirements can be met

in one of two ways.

      First, an individual may temporarily act as the Attorney General if he or she

has been confirmed, with the advice and consent of the Senate, to an office in which

such possible performance of the Attorney General’s functions was, in effect, foresee-

able. Cf. Weiss v. United States, 510 U.S. 163, 173-75 (1994) (Appointments Clause

not violated when officer assumes duties “germane” to those of office already con-

firmed to with advice and consent).




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      Deputy Attorney General Rosenstein and others explicitly designated in the

line of succession in the Attorney General Succession Act meet that requirement be-

cause when the Senate confirmed them, it understood that they might have to fill a

vacancy in the Office of Attorney General. Thus, the Senate has already advised and

consented that these officers are qualified to perform the functions of the principal

office, so they can temporarily exercise the authority of that post without having to

be re-appointed and re-confirmed.

      The Senate certainly has not made that evaluation with respect to Mr. Whita-

ker, who holds his chief-of-staff position without any input from the Senate at all.

Indeed, Whitaker’s appointment marks the first time since the Department of Justice

was established in 1870 that a President has attempted to designate an Acting At-

torney General who was not then serving in any office to which he or she was ap-

pointed by and with the advice and consent of the Senate. See Marty Lederman, A

Quick Primer on the Legality of Appointing Matthew Whitaker as “Acting” Attorney

General, and Whitaker’s Power to Influence the Russia Investigation, Just Security

(Nov. 8, 2018), bit.ly/2z5b47z. Indeed, it would be the first time since the Department

of Justice was established that an Acting Attorney General is anyone other than a

sitting Senate-confirmed officer in the Department of Justice. Id.

      Second, the Supreme Court held in United States v. Eaton, 169 U.S. 331 (1898),

that a temporary appointment to perform the functions of a principal office, by an

individual who has not been Senate-confirmed, is permissible in cases of true “exi-

gency” for “a limited time, . . . under special and temporary conditions.” Id. at 343



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(emphasis added). A contrary holding, the Court explained, “would render void any

and every delegation of power to an inferior to perform under any circumstances or

exigency the duties of a superior officer, and the discharge of administrative duties

would be seriously hindered.” Id.

      Under Eaton, the assignment must be temporary, and it must be tailored to

deal with the particular exigency that necessitated deviating from the ordinary Ap-

pointments Clause requirements. The facts of Eaton illustrate the holding: a tempo-

rary replacement was permissible when, in 1898 (well before air travel or instant

communications), the American consul in what is now Thailand fell gravely ill, with

no Senate-confirmed vice consul nearby. 169 U.S. at 340. Eaton merely affirmed the

historical practice of sometimes, during periods of exigency when no Senate-con-

firmed officer is available, assigning an individual to perform a principal officer’s du-

ties “for a limited time and under special and temporary conditions,” lest the dis-

charge of those duties “be seriously hindered.”

      There is no such “emergency” in this case—not even close. Instead, the Presi-

dent himself is responsible for the “vacancy”: he asked then-Attorney General Ses-

sions to resign (and no doubt would have fired him, had Sessions refused). That fact

alone defeats reliance on Eaton’s narrow exception to the general rule because the

President could have announced Sessions’ successor before (constructively) firing

him—which is what past Presidents have done. Walter Dellinger & Marty Lederman,

Initial Reactions to OLC’s Opinion on the Whitaker Designation as “Acting” Attorney

General (Nov. 15, 2018), http://bit.ly/2zX6wzz.



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      In any event, Sessions leaving office did not give rise to an emergency that

required the President to appoint somebody who did not meet the requirements of

the Appointments Clause—because Senate-confirmed officers (e.g., Rosenstein) were

and are available to succeed Sessions. Indeed, before now, no President has ever at-

tempted to bypass 28 U.S.C. § 508 when Senate-confirmed officers occupy posts in

the line of succession. Thus, there is no emergency here that justifies such a stark

deviation from the method that both political branches have settled upon for two cen-

turies.

      Eaton’s characterization of the acting official in that case as “inferior” and not

subject to prior Senate confirmation does not validate Whitaker’s appointment for

other reasons, too. Importantly, Eaton concerned consular officers who would exer-

cise foreign policy authority completely external to the United States, a realm in

which the President is uniquely empowered by the Constitution. See United States

v. Curtiss-Wright Exp. Corp., 299 U.S. 304, 319 (1936); see also Zivotofsky ex rel. Zi-

votofsky v. Kerry, 135 S. Ct. 2076, 2090 (2015). The powers exercised by the Attorney

General, on the other hand, are far broader, and have a far closer nexus to Congress’s

own authority because the Attorney General enforces myriad federal statutes. The

Senate thus has a much greater constitutional interest in confirming the Attorney

General—even on a temporary basis—than it does a consular officer on the other side

of the world. See Zivotofsky, 135 S. Ct. at 2090 (“[I]t is still the Legislative Branch,

not the Executive Branch, that makes the law.”). Eaton does not permit the President

to bypass Article II and appoint someone as the most powerful law enforcement officer



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in the Nation who is not Senate-confirmed to any office, when others who meet the

Appointments Clause requirements are available.

      Because Whitaker’s appointment does not satisfy the Appointments Clause, it

is unlawful, and he cannot serve as Acting Attorney General.

                                 CONCLUSION

      For the foregoing reasons, petitioner’s motion for substitution in this matter

should be granted.



           Respectfully submitted,

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